                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA

RALEIGH WAKE CITIZENS ASSOCIATION,                )
et al.                                            )
                                                  )
                      Plaintiffs,                 )
                                                  )              No. 5:15-cv-156
              v.                                  )
                                                  )
WAKE COUNTY BOARD OF ELECTIONS,                   )
                                                  )
                      Defendant.                  )


CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            vs.                           )                      No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)

                                    NOTICE OF APPEARANCE

       COMES NOW the undersigned, Jessica Thaller-Moran, an attorney admitted to practice

in this Court, and hereby gives notice of appearance as counsel for Defendant Wake County

Board of Elections.




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This the 15th day of December, 2015.

                                   /s/ Jessica Thaller-Moran
                                   Jessica Thaller-Moran
                                   N.C. State Bar No. 46444
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                                   Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2015, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system and have verified that such filing was sent
electronically using the CM/ECF system to the following:

                    Anita S. Earls
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) 273-7885
                                            Respectfully Submitted,

                                            /s/ Jessica Thaller-Moran
                                            Jessica Thaller-Moran

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